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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                   NORTHERN DIVISION

EDDIE E. WEBB,                                                PLAINTIFF
ADC #108350
v.                       No. 3:22-cv-146-DPM

BLAINE MCCLUNG,
Officer, Corning Police Department                         DEFENDANT

                                ORDER
     Webb’s complaint will be dismissed without prejudice. Doc. 50;
Local Rule 5.5(c)(2).
     So Ordered.
                                  _________________________
                                  D.P. Marshall Jr.
                                  United States District Judge

                                  2 January 2024
